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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-CR-20631-GAYLES/OTAZO-REYES
UNITED STATES OF AMERICA
vs.

CARLOS MIGUEL RODRIGUEZ,
a/k/a/ “Carlito,”

Defendant.
/

FACTUAL PROFFER

The Defendant, CARLOS MIGUEL RODRIGUEZ, a/k/a “Carlito” (hereinafter referred to
as the “Defendant”), his counsel, and the United States agree that, had this case proceeded to trial,
the United States would have proven the following facts, among others, beyond a reasonable
doubt:

1. Since approximately in or around November 2015, the Defendant participated in a
scheme to obtain and use the personal identification information of unwitting customers at various
FDIC-insured financial institutions, such as Bank of America, Bank of American Fork, Bank of
the West, CBBC Bank, Citizen’s Bank, JP Morgan Chase, KeyBank National Association,
Regions Bank, Santander Bank, N.A., Suntrust Bank, TD Bank, U.S. Bank, Wells Fargo N.A.,
Woodforest National Bank, and Zion First National Bank. The Defendant and other members of
the scheme obtained, from bank insiders or other sources, copies of checks from checking accounts
with these financial institutions.

2. The Defendant and others in the scheme then used websites on the dark web to
obtain the personally identifiable information (“PII’’) for the signatories on the bank accounts,
including name, date of birth, address, and social security numbers. This allowed the Defendant

and others to access the bank accounts online, check the balances, view deposits, withdrawals, and
 

 

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cancelled checks. Sometimes, the Defendant directed TAILY RODRIGUEZ to obtain PII on the
dark web for him.

3. The Defendant then pretended to be the account holder, in order to change the
contact information on the account, such as the telephone number, to a telephone number that he
controlled. The Defendant used multiple disposable phones to call the banks to avoid detection.
Banks provided recordings of the Defendant impersonating account holders. The Defendant and
others also downloaded images of previously cancelled checks and then used those cancelled
checks as templates to create counterfeit checks that appear similar, and in some cases identical,
to the checks used by the bank account holder. The Defendant and others often created the
counterfeit checks in hotel rooms that they paid for in cash, in order to use a wifi connection that
would not come back to his house.

4, The Defendant then provided the counterfeit checks to individuals tasked with the
responsibility of recruiting others who agreed to go into the financial institution to negotiate the
counterfeit checks, including RAUL APLIZAR GONZALEZ, KENNY FRENCHIE ALFARO,
and others.

5. If the financial institution became suspicious of the transaction, the teller called the
listed phone number on the account, which came back to a phone number controlled by the
Defendant and the Defendant authorized the cashing of the counterfeit check.

6. A times, the Defendant and others cashed counterfeit checks at branch banks in the
Southern District of Florida. Often, the Defendant and others traveled outside the district to cash
counterfeit checks at branches throughout the United States. The Defendant had connections to
individuals from other states having the ability to recruit others in their area to enter bank branches

and cash the counterfeit checks, or worked with others who had such connections.
 

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7. The Defendant deposited the cash from the counterfeit checks into a number of
different bank accounts, including a bank account in the name of a fake company called Pages
Cleaning Service. The Defendant and others used Pages Cleaning Service to make it look like the
cash they received from the scheme was legitimate income related to house cleaning services, even
though the cash was illegal proceeds of the counterfeit check scheme. The Defendant used the
cash from the counterfeit check scheme to purchase a home, and a boat, among other items.

8. The Defendant managed and supervised the counterfeit check scheme, which
involved far more than five participants. The Defendant chose the banks to target and, at times,
directed others to travel out of state to cash the counterfeit checks for him. The Defendant also
directed TAILY RODRIGUEZ to obtain PII for him on occasions.

9. The Defendant obtained PII belonging to a victim with the initials D.M.R. who
lived in the Highland Heights, Kentucky. D.M.R is the subject of Count 4. The Defendant
possessed D.M.R.’s name, social security number, and date of birth on an electronic note saved on
his iPhone. The Defendant used D.M.R.’s PII to access his business bank account at US Bank.
The Defendant that created counterfeit check number 23866 on D.M.R.’s business bank account
in the amount of $3,750, made payable to an individual with the initials C.S. C.S. was a check
casher recruited by the Defendant and others. C.S. presented the counterfeit check created by the
Defendant at a US Bank branch in Arizona and received $3,750 cash. The Defendant directed
others to collect the cash from the counterfeit check from C.S. and then shared the proceeds of the
cash from the counterfeit check.

10. If this case were to go to trial, the United States would call fraud investigators for
individual financial institutions who analyzed telephone numbers, electronic mail addresses, and
account numbers that were in the possession of the Defendant and others, among other data, linking

participants in the scheme. These investigators have identified losses from the scheme to date
 

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which, when combined, amount to $1,892,745.85. Many of the banks defrauded in Defendant’s

scheme were outside the State of Florida.

and foreign commerce.

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As such, the Defendant’s conduct affected interstate

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ATLORNEY

 

    

KRISTI KASSEBAU
ATTORNEY FOR DEFENDANT

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CARLOS MIGUEL RODRIGUEZ
DEFENDANT
